Case 2:08-cv-04716-RBS

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

REGINA GILLMORE HESINGTON CIVIL ACTION

Plaintitt

VS.

ACADEMY COLLECTION SERVICES, NO. 08-4716

INC.
Defendant

 

 

STIPULATION OF DISMISSAL

AND NOW, this 22". day of

January, 2009, itis hereby Stipulated and Agreed by

and between counsel for plaintiff and counsel for defendant in the above captioned matter

that the above captioned matter be dismissed with prejudice.

Warren & Vullings, LLP

BY:__/s/ Bruce K. Warren

Bruce K. Warren, Esquire

Attorney for Plaintiff

Marshall Dennehey Warner Coleman & Goggin
BY: UL oo

 

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Dean H. Malik, Esquire
Attorney for Defendant
